Case 1:22-cv-00314-JMB-RSK             ECF No. 262, PageID.6401           Filed 05/25/25     Page 1 of
                                                 6



          UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                                  MICHIGAN
                                Southern Division


  Luis Gomez-Echeverria et al.,

                                  Plaintiffs,
  v.                                                         Case No. 1:22-cv-00314

  Purpose Point Harvesting LLC et al.,                       Hon. Jane M. Beckering

                                  Defendants.



                        PARTIES’ STIPLULATION ON TRIAL EXHIBITS

            Following meet and confer efforts between Plaintiffs and Defendant Purpose Point

 Harvesting LLC (“Purpose Point”), the Parties have agreed and stipulated to the following:

 Exchange of Demonstratives and Witnesses

       1. The parties stipulate and agree that any opening statement demonstratives will be shared

          with the opposing party by 5:00 p.m. the day before jury selection.

       2. The parties stipulate and agree that all other demonstratives will be shared with the

          opposing party by 7:00 p.m. the day before their presentation in court.

       3. The parties stipulate and agree that the names of witnesses will be shared with the

          opposing party by 7:00 p.m. the day before they testify.

 Admission of Exhibits

          Neither party objects to the admission of the following uncontested exhibits:

       4. ETA 790 forms:

              a. PTX 116

              b. PTX 117
Case 1:22-cv-00314-JMB-RSK       ECF No. 262, PageID.6402   Filed 05/25/25   Page 2 of
                                           6



           c. PTX 118

    5. Paystubs:

           a. PTX 18

           b. PTX 19

           c. PTX 20

           d. PTX 38

           e. PTX 56

           f. PTX 57

           g. PTX 58

           h. PTX 69

           i. PTX 80

           j. PTX 81

    6. Timesheets:

           a. PTX 16

           b. PTX 17

    7. Department of Labor reports:

           a. PTX 84

           b. PTX 88

           c. PTX 89

           d. PTX 90

    8. Bank records:

           a. PTX 10

           b. PTX 11

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Case 1:22-cv-00314-JMB-RSK       ECF No. 262, PageID.6403   Filed 05/25/25   Page 3 of
                                           6



           c. PTX 12

           d. PTX 13

           e. PTX 14

           f. PTX 31

           g. PTX 50

           h. PTX 51

           i. PTX 52

           j. PTX 53

           k. PTX 73

           l. PTX 75

           m. PTX 76

           n. PTX 77

           o. PTX 107

           p. PTX 108

    9. Grower invoices and contracts:

           a. PTX 121

           b. PTX 122

           c. PTX 123

           d. PTX 124

           e. PTX 125

           f. PTX 126

           g. PTX 127

           h. PTX 128

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Case 1:22-cv-00314-JMB-RSK   ECF No. 262, PageID.6404   Filed 05/25/25   Page 4 of
                                       6



          i. PTX 129

          j. PTX 130

          k. PTX 131

          l. PTX 132

          m. PTX 133

          n. PTX 134

          o. PTX 135

          p. PTX 136

          q. PTX 137

          r. PTX 138

          s. PTX 139

          t. PTX 140

          u. PTX 141

          v. PTX 142

          w. PTX 143

          x. PTX 144

          y. PTX 145

          z. PTX 146

          aa. PTX 147

          bb. PTX 148

          cc. PTX 149

          dd. PTX 150

          ee. PTX 151

                                      4
Case 1:22-cv-00314-JMB-RSK        ECF No. 262, PageID.6405   Filed 05/25/25   Page 5 of
                                            6



           ff. PTX 152

           gg. PTX 153

           hh. PTX 154

           ii. PTX 155

           jj. PTX 156

           kk. PTX 157

           ll. PTX 158

           mm.        PTX 159

           nn. PTX 160

           oo. PTX 161

           pp. PTX 162

    10. H-2A visas and SSNs:

           a. PTX 3

           b. PTX 5

           c. PTX 28

           d. PTX 55

           e. PTX 71

    11. Hervil Gomez-Echeverria’s injury:

           a. PTX 32

           b. PTX 33

           c. PTX 34

           d. PTX 35

           e. PTX 36

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Case 1:22-cv-00314-JMB-RSK   ECF No. 262, PageID.6406           Filed 05/25/25   Page 6 of
                                       6



           f. PTX 37



 IT IS SO STIPULATED.



 Dated: May 25, 2025          BOIES SCHILLER FLEXNER LLP
                              By: /s/ Kenya K. Davis
                                   Kenya K. Davis (D.C. Bar No: 502305)
                                   Admitted to Practice in the Western District of
                                   Michigan

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                                     Attorney for Defendants




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